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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS

 CHARITABLE DAF FUND, L.P.                           §
 and CLO HOLDCO, LTD.,                               §
 directly and derivatively,                          §
                                                     §
                 Plaintiffs,                         §
                                                     §
                    v.                               §   CAUSE NO. 3:21-cv-00842-B
                                                     §
 HIGHLAND CAPITAL MANAGEMENT,                        §
 L.P., HIGHLAND HCF ADVISOR, LTD.,                   §
 and HIGHLAND CLO FUNDING, LTD.,                     §
 nominally,                                          §
                                                     §
                Defendants.                          §

   PLAINTIFFS’ UNOPPOSED MOTION TO EXTEND TIME TO FILE RESPONSE
   TO HIGHLAND CLO FUNDING, LTD.’S MOTION TO DISMISS AND JOINDER
     IN MOTION TO DISMISS OF HIGHLAND CAPITAL MANAGEMENT, L.P.

       Plaintiffs respectfully move this Court to extend their time to file their response to

Defendant Highland CLO Funding, Ltd.’s Motion to Dismiss and Joinder in Motion to Dismiss of

Highland Capital Management, LP.

       1.     Defendant Highland CLO Funding, Ltd. (“HCLOF”) filed its Motion to Dismiss

and Joinder in Motion to Dismiss of Highland Capital Management, L.P. on August 30, 2021.

Plaintiffs’ response is due on September 20, 2021.

       2.     Defendant HCLOF has agreed to extend Plaintiffs’ response deadline for 21 days

to October 11, 2021.

       Plaintiffs respectfully request that the Court grant their Motion and deem Plaintiffs’

response to Highland CLO Funding, Ltd.’s Motion to Dismiss and Joinder in Motion to Dismiss

of Highland Capital Management, L.P. due on October 11, 2021.


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Dated: September 17, 2021                     Respectfully submitted,

                                              SBAITI & COMPANY PLLC

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